Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 1 of 23



                          16   CV 0192s (LTS-SN)

                         L'NITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

                          CAPITOL PEDICABS, LLC and BOURAMA
                          CAMERA,
                                                                         Plaintiffs,
                                                   -against-

                          THE CITY OF NEW YORK, MAYOR WILLIAM DE
                          BLASIO, in his official and individual capacities, THE
                          DEPARTMENT OF CONSUMER AFFAIRS,
                          DEPARTMENT OF CONSUMER AFFAIRS
                          COMMISSIONER JULIE MENIN, in her official and
                          individual capacities, THE NEW YORK CITY PARKS
                          DEPARTMENT, NEW YORK CITY PARKS
                          DEPARTMENT COMMISSIONER MITCHELL
                          SILVER, in his individual and official capacities, THE
                          NEV/ YORK POLICE DEPARTMENT, NEW YORK
                          POLICE DEPARTMENT COMMISSIONER WILLIAM
                          BRATTON, in his official and individual capacities,
                          DCA INSPECTOR ALEXANDER GERSHKOVICH,
                          and POLICE or PARKS ENFORCEMENT OFFICERS
                          and/or DCA INSPECTORS JOHN DOES and JANE
                          DOES in their individual capacities,
                                                                      Defendants


                          DEFBNDANTS' MEMORANDUM OF LAW IN
                          SUPPORT OF THEIR MOTION TO DISMISS THE
                          COMPLAINT


                                           ZACHARY W. CARTER
                                 Corporation Counsel of the City of New York
                                     Attorney for Defendants
                                     I00 Church Street
                                     Neu, York, N.Y. 10007


                                     Of Counsel: Kerui Devine
                                     Tel: (21 2) 356-22I4
                                     MatÍer No.: 201 6-007954
       Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 2 of 23



                                   TABLE OF CONTBNTS

                                                                              Page


PRELIMINARY STATEMENT                                                             .2

CERTIFICATION OF BEST EFFORTS TO RESOLVE                                          .J

ARGUMENT..                                                                        ,4

STANDARD OF REVIEW..                                                              ,4

POINT I

             PLAINTIFFS' FOURTH AMENDMENT CLAIMS MUST
             BE DISMISSED                                                          5

POINT II

             PLAINTIFFS' FOURTEENTH AMENDMENT CLAIMS
             MUST BE DISMISSED                                                     7

POINT III

            PLAINTIFFS' MLTNICIPAL LIABILITY CLAIMS FAIL                          .9

POINT IV

            THE AMENDED COMPLAINT FAILS TO STATE A
            CLAIM AGAINST DE BLASIO, MENIN, SILVER AND
            BRATTON IN THEIR OFFICIAL CAPACITIES                              ...12

POINT V

            PLAINTIFFS' 42 U.S.C. $ 1983 CLAIMS AGAINST ALL
            OF THE DEFENDANTS NAMED IN THEIR
            INDIVIDUAL CAPACITIES MUST BE DISMISSED
            BECAUSE THEY FAIL TO SUFFICIENTLY ALLEGE
            THEIR PERSONAL INVOLVEMENT                                           12

            A.   Plaintiffs failto state a clairn against de Blasio,
                 Menin, Silver and Bratton                                    ...1 3

            B    Plaintiffs fail   to   state   a claim   against Inspector
                 Gershkovich...............                                   ..t5
       Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 3 of 23



                                                                        Page


POINT VI

             DEFENDANT GERSHKOVICH            IS   ENTITLED TO
             QUALTFTED TMMUNTTY ..........                                .15

POINT VII

             THE AMENDED COMPLAINT FAILS TO STATE A
             CLAIM AGAINST THE DEPARTMENT OF
             CONSUMER AFFAIRS, THE NEW YORK CITY
             PARKS DEPARTMENT AND THE NEW YORK CITY
             POLICE DEPARTMENT                                              17

POINT VIII

             THE COMPLAINT IS, IN PART, TIME-BARRED...                     t7

POINT IX

             THE COURT SHOULD DECLINE TO              EXERCISE
             JURISDICTION OVER PLAINTIFFS' STATE LAV/
             CLAIMS                                                     ....1 8

POINT X

             PLAINTIFFS' CHALLENGE TO THE "REGULATION
             OF PEDICABS" MUST BE DISMISSED........                       .18

CONCLUSION                                                                 20




                                         ll
          Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 4 of 23



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEV/ YORK
                                                              X
CAPITOL PEDICABS, LLC and BOURAMA CAMERA,

                                                Plaintiffs,
                                                                  16   CV 0192s (LTS-SN)
                         -against-
                                                                  (filed by ECF)
THE CITY OF NEW YORK, MAYOR WILLIAM DE
BLASIO, in his official and individual capacities, THE
DEPARTMENT OF CONSUMER AFFAIRS,
DEPARTMENT OF CONSUMER AFFAIRS
COMMISSIONER JULIE MENIN, in her official and
individual capacities, THE NEW YORK CITY PARKS
DEPARTMENT, NEW YORK CITY PARKS
DEPARTMENT COMMISSIONER MITCHELL SILVER.
in his individual and official capacities, THE NEW YORK
POLICE DEPARTMENT, NEV/ YORK POLICE
DEPARTMENT COMMIS SIONER WILLIAM
BRATTON, in his official and individual capacities, DCA
INSPECTOR ALEXANDER GERSHKOVICH, and
POLICE or PARKS ENFORCEMENT OFFICERS andlor
DCA INSPECTORS JOHN DOES and JANE DOES in
their individual capacities,

                                              Delendants.
                                                              X


                 DEFENDANTS' MEMORANDUM OF LA\ry IN SUPPORT
                  OF THEIR MOTION TO DISMISS THE COMPLAINT

               Defendants',   Th" City of New York    (hereinafter "the City"), Mayor      Bill   de

Blasio,2 the Department of Consumer Affairs (hereinafter "DCA"), DCA Commissioner Julie

Menin,3 the New York City Parks Department (hereinafter "Parks Department"), Parks

I As of the date of this Motion, William Bratton has not been served and he is no longer          the
NYPD Commissioner.
2
    The Complaint mistakenly names the Mayor as "William De Blasio," however, his correct
name is  "Bill de Blasio."

' Juli. Menin is no longer the Commissioner of DCA.
           Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 5 of 23



Department Commissioner Mitchell Silver, the New York Police Department (hereinafter

"NYPD"), DCA Inspector Alexander Gershkovich (collectively "City Defendants"), by their

attorney Zachary V/. Carter, Corporation Counsel          of the City of New York, submit this
memorandum of law in support of their motion to dismiss the Amended Complainta (attached as

Exhibit "8" to the Declaration of Keni A. Devine dated October 12,2016 submitted herewiths)

pursuant to Rule 12(bX6) of the Federal Rules of Civil Procedure (hereinafter "Rule 12(bX6)").

                                   PRELIMINARY STATEMENT

                   Plaintiffs, Capitol Pedicabs, LLC and Bourama Camera, bring this action pursuant

to 42 U.S.C. $ 1983 against the City Defendants and Police or Parks Enforcement Officers

andlor DCA Inspectors John Does and Jane Does6

                   Plaintiffs allege in their Amended Complaint that City Defendants have violated

Plaintifß' Fourth and Fourleenth Amendment rights by stopping pedicabs without          reasonable

articulable suspicion and pursuant to policies, practices and/or customs devised by the City, de

Blasio, Bratton, Menin and Silver and that the City, de Blasio, Bratton, Menin and Silver have

acted with deliberate indifference to the constitutional rights of the pedicab drivers and pedicab

business owners by: (a) failing to properly screen, train, and supervise Officers, (b) inadequately

monitoring Officers and their practices in stopping and ticketing pedicab drivers, (c) failing to




a
 Pursuant to a Stipulation entered into between the parties on June 29,2016, Plaintiffs served an
amended Complaint dated July 5, 2016 on the City Defendants (hereinafter "Amended
Complaint.")
5
    All exhibits
             referenced herein are attached to the Declaration of Kerri A. Devine dated October
12, 2076 submitted herewith.

6
  As of the date of this Motion, Police or Parks Enforcement Officers and/or DCA Inspectors
John Does and Jane Does have not been identified and in any event, there are no facts alleged in
Continued...

                                                  2
         Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 6 of 23



sufficiently discipline Officers who engage       in   constitutional abuses, and (d) encouraging,

sanctioning and failing to rectify the Officers' unconstitutional practices.

               V/hile the Amended Complaint is largely lacking in factual specifics, it      appears

that Plaintiffs are challenging the stopping of Plaintiffs' pedicabs pursuant to safety checkpoints

set up for routine compliance inspections of pedicabs conducted by DCA Inspectors, NYPD

Officers and Parks Department personnel.

               As set forth in detail below, City Defendants move pursuant to Rule 12(b)(6) to

dismiss the Amended Complaint       in its entirety, and with prejudice, on the ground that:      (1)

Plaintiffs have failed to sufficiently plead a claim for violation of their Fourth Amendment

rights, (2) Plaintiffs have failed to sufficiently plead a claim for violation of their Fourteenth

Amendment rights, (3) Plaintiffs cannot establish a claim for municipal liability, (4) Plaintiffs

have failed to state a claim for supervisory liability as a matter of law, (5) Plaintiffs have failed

to allege the personal involvement of the individual Defendants, (6) Defendant Gershkovich is

entitle to qualified immunity, (7) DCA, the Parks Department and NYPD are not suable entities,

(8) the Amended Complaint, is in part, time-barred, and (9) Plaintiffs fail to state a claim that the

regulation of pedicabs violates state law.

                   CERTIFICATION OF BEST EFFORTS TO RESOLVE

               By letter dated June 3, 2016, in accordance with Section A(2XbXiXA) of Judge

Laura Taylor Swain's Individual Practices, City Defendants notified Plaintiffs of the their

intention to move to dismiss the Complaint (Exhibit "C") in this action pursuant to Rule l2(bX6)

and outlined City Defendants' legal and factual positions on the matter. Pursuant to a Stipulation



the Amended Complaint regarding the specific involvement of said officers and inspectors and
thus the Amended Complaint fails to state a claim as to them.




                                                 3
          Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 7 of 23



entered into between the parties on June 29,2016, signed by Judge Swain, Plaintiffs served the

Amended Complaint, dated July 5, 2016, on City Defendants, with the exception of William

Bratton, and City Defendants sent another letter informing Plaintiffs             of City   Defendants'

intention to move to dismiss the Amended Complaint pursuant to Rule l2(bX6). On September

12, 2016, Plaintiffs sent a letter to City Defendants stating that they believe they plead, "ample

facts to meet the pleading requirements set forth in Rule 8(a)" and outlining their legal and

factual positions. City Defendants now move to dismiss the Amended Complaint.

                                            ARGUMENT

                                     STANDARD OF REVIEW

                A pleading may be dismissed for "failure to state a claim upon which relief can be

granted." Fed. R. Civ. P. 12(bX6). "To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, 'to state a claim to relief that is plausible on its face'."

Ashcroft v. Iqbal, 556 U.S. 662,678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570   (2007)). In other words, "bald assefiions and conclusions of law will not sutfice." Leeds v.

Meltz, 85 F.3d 51, 53 (2d Cir. 1996). A party's "obligation to provide the grounds of his

entitlement to relief requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action    will not do." Twombly, 550 U.S. at 555 (internal quotations and

citations omitted); see also, In re Elevator Antitrust Litig.,502 F.3d 47,50 (2d Cir.2007)

("V/hile fBell Atlantic] does not require heightened fact pleading of specifics, it does require

enough facts to nudge plaintiff s claims across the line from conceivable to plausible."). A court

should therefore dismiss a complaint when         it   appears that a plaintiff has failed   to plead   a


plausible claim of relief. See Spagnola v. Chubb Corp. , 574 F.3d 64, 67 (2d Cir. 2009).

                In deciding a motion to dismiss, a courl will consider "the complaint, the answer,

any written documents attached to them, and any matter of which the court can take judicial

                                                   4
         Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 8 of 23



notice for the factual background of the case." Roberls v. Babkiewicz, 582 F.3d 418, 419 (2d

Cir. 2009). "A complaint is deemed to include any written instrument attached to            it   as   an


exhibit, materials incorporated in it by reference, and documents that, although not incorporated

by reference, are 'integral' to the complaint." Sira v. Morton, 380 F.3d 57,67 (2d Cir. 2004)

(citations omitted) (quoting Chambers v. Time Warner. Inc. ,282 F.3d 147, 153 (2d Cir. 2002));

see also, Abdul-Rahman    v. The City of New York" l0 Civ. 2775 (ILG) (RML), 2012 U.S. Dist.
LEXIS 45653, *6-7 (E.D.N.Y. Mar. 27,2012) (quoting Sira, 380 F.3d at 67). Additionally,"u

district court may rely on matters of public record in deciding a motion to dismiss under Rule

l2(b)(6)," including arrest reports, criminal complaints, indictments, and criminal disposition

data. Vasquez v. City of New York,99 Civ.4606 (DC),2000 U.S. Dist LEXIS 8887, at *3, n. I

(S.D.N.Y. June 29,2000) (citations omitted); see also, Abdul-Rahman,2012 U.S. Dist. LEXIS

45653, *6-10 (internal citations omitted). Finally, "courts routinely take judicial notice of

documents filed in other oourls,...not for the truth of the matters asserled in other litigation, but

rather to establish the fact of such litigation and related   filings." Kramer v. Time Warner. Inc.,

937 F.2d767,774 (2dCir.1991); see also, Nealy v. Berger,08 CV 1322 (JFB),2009 U.S. Dist.

LEXIS 20939, at*6, n. 3 (E.D.N.Y. Mar. 16,2009) (taking judicial notice of court filings).

                                             POINT    I
                       PLAINTIFFS' FOURTH AMENDMENT
                       CLAIMS MUST BE DISMISSBD

               Plaintiffs fail   to suffrciently plead a claim for a violation of their Fourth
Amendment rights. Despite the conclusory allegations throughout the Amended Complaint that

unreasonable, unconstitutional stops of pedicabs are "rarnpant" in New York City, the Amended

Complaint is completely lacking in any factual content of any such stops. Of the seventy-one

paragraphs in the Amended Complaint, only paragraphs 45 and 46 appear to marginally address



                                                  5
          Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 9 of 23



a specific stop   of   a   pedicab. At paragraphs 45 and 46 of the First Amended Complaint, however,

Plaintiffs merely refer to a hearing held on a notice of hearing issued to Plaintiff Bourama

Camera in which the issuing inspector, Defendant Alexander Gershkovich, testified that he was

instructed to "stop all pedicabs." The facts surrounding the actual stop are entirely omitted.

(Exhibit "B.")

                  Beyond those allegations      in paragraphs 45    and 46, the Amended Complaint

contains only general, conclusory assertions that pedicabs have been stopped without reasonable

suspicion and probable cause. See flfl       3,17,19,26,41,42 of Exhibit "8." Such bald assertions

are insufficient to satisfy the requirements of Iqbal and Twombly and accordingly, the        Plaintifß'

Fourth Amendment claims must be dismissed.

                  In support of their claimed constitutional violation of their Fourlh Amendment

rights, Plaintiffs rely almost entirely on the fact that at the administrative hearing conceming the

notice of hearing that Inspector Gershkovich issued to Plaintiff Camera on September 14, 2013

(hereinafter "administrative hearing"), Inspector Gershkovich testified that, "he was instructed

by his supervisor to 'stop all pedicabs."' Exhibit       "8" at\ 45. The transcript from said hearing
reveals that on September 74,2073, checkpoints were set up at several locations in Central Park

at which DCA Inspectors, Parks Department Personnel and NYPD Officers were conducting

compliance inspections of pedicabs. See Transcript of hearing held on April         21   ,2074 (Exhibit

"4")   (hereinafter "Transcript") at pp. 25,38, 39-40. Inspector Gershkovich testified that on that

day they were instructed to stop all pedicabs. Exhibit ".Ã" at pp. 69-70. He testified that he

worked with Parks Department personnel at the checkpoint and that the Parks Department

personnel stopped the pedicabs and he conducted the inspections. Exhibit           "A" at p.26-     27.

Since, understandably, Inspector Gershkovich and the Parks Department personnel he was



                                                     6
        Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 10 of 23



working with could not stop every pedicab, he testified that they stopped as many as they could

and that the ones they were unable to stop were stopped at other inspection locations. Exhibit

"A" at pp. 33-34, 42. To         keep track   of which pedicabs had been inspected, every pedicab

stopped pursuant        to the compliance inspection was issued either a notice of hearing or        a


certificate of inspection. Exhibit     "A" atp.34.
                 Thus, that single allegation relied on by Plaintiffs in which     it is alleged   that

Defendant Gershkovich was ordered to "stop all pedicabs" belies their claim that the policy and

practice was not pursuant to uniform procedure or objective standard and was based only on the

inspector's arbitrary discretion.         To the     contrary, an order   to "stop all   pedicabs" is

nondiscriminatory and nondiscretionary. People           v. Scott,63 N.Y.2d 518 (198a);     People v.

Serrano, 233 A.D.2d 170 (1't Dep't 1996). Therefore, Plaintiffs'Fourth Amendment Claims fail

as a matter   of law.

                                                POINT    II
                           PLAINTIFFS' FOURTEENTH AMENDMENT
                           CLAIMS MUST BE DISMISSED

                 Plaintiffs only conclusory allege that pedicab drivers are stopped and ticketed in

violation of the Equal Protection Clause and therefore their Fourteenth Amendment claims also

fail to satisfy the standards set forth in Iqbal and Twombl)r. While it is difficult to discern how

Plaintifß allege that their Fourteenth Amendment rights were violated, for the purposes of this

motion, City Defendants        will   interpret their naked assertions that they were denied Equal

Protection as a Fourteenth Amendment "class of one" claim.

                 To sufficiently allege a "class of one" violation of the Equal Protection Clause,

Plaintiffs must show, "(1) intentional disparate treatment, (2) from other similarly situated

individuals, (3) without a rational basis for the difference in treatment, and (4) without otherwise


                                                     7
        Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 11 of 23



claiming membership in a particular class or group." Witt v. Vill. of Mamaroneck,20l5 U.S.

Dist. LEXIS 39669 (S.D.N.Y. 2015) citing      Vill.    of Willowbrook v. Olech, 528 U.S. 562 (2000).

The "similarly situated" requirement is a strict one. Plaintiffs must show that,

                         .(i) no rational person could regard the
                       circumstances of the plaintiff to differ from those of
                       a comparator to a degree that would justify the
                       differential treatment on the basis of a legitimate
                       government policy; and (ii) the sirnilarity in
                       circumstances and difference in treatment are
                       sufficient to exclude the possibility that the
                       defendant acted on the basis of a mistake. Clubside
                       Inc. v. Valentin, 468 F.3d 744, 159 (2d Cir.2006).

Essentially, they must be "prima facie identical" Neilson v. D'Angelis, 409 F.3d 100 (2d Cir.

2005) citing Purze v. Winthrop Harbor,286 F.3d 452 Qth Cir.2002).

               Plaintiffs do not allege that they are similarly situated to others. The only other

group even mentioned in the Amended Complaint, although only briefly at paragraph 53, is

"automobile taxicabs." Plaintiffs, however, make no allegation that taxicabs and pedicabs are

similarly situated. In fact, Plaintiffs even highlight one of the many distinctions between them at

paragraph 53 in which    it is noted that taxicabs have gasoline-powered engines, unlike pedicabs.

Other distinctions include the fact that the structure of a pedicab does not provide the same

protection to its passengers as taxicabs do; pedicabs are regulated by DCA while taxicabs are

regulated by the Taxi and Limousine Commission; and taxicabs are governed by different

sections of the Motor Vehicle Law than pedicabs. Suffice           it to say, it is clearly evident   that

"automobile taxicabs" are not similarly situated to pedicabs. Accordingly, Plaintiffs' Equal

Protection Claim must be dismissed. See Witt v. Vill. of Mamaroneck U.S. Dist. LEXIS 39669

(s.D.N.Y 20ts).

               Even   if Plaintiffs alleged that their pedicabs are similarly situated and if the Court

finds Pedicabs and taxicabs to be sufficiently similar, a rational basis exists for the difference in

                                                   8
         Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 12 of 23



treatment. As alleged in the Amended Cornplaint, city officials claimed that, "Pedicabs                    are

creating hazardous conditions in high traffic areas." Exhibit      "8"   at   T6. It is entirely rational that

pedicabs, which do not provide the safe structure for its passengers that automobiles do but yet

occupy the same streets as automobiles, in a congested city such as New York, would require

safety checks distinct from automobiles.

                                               POINT    III
                        PLAINTIFFS' MUNICIPAL LIABILITY
                         CLAIMS FAIL

                 In the instant case, the Amended Complaint purports to allege that the City                is

liable pursuant    to 42 U.S.C $       1983   for violations of Plaintifß' Fourth and Fourteenth
Amendment rights resulting from the stopping and ticketing of their pedicabs without reasonable

suspicion   or probable    cause   in an effort to drive      pedicabs out      of business.       Defendants

respectfully contend that Plaintiffs have failed to set forth a constitutional violation, and as such,

the Plaintifß' claims for municipal liability fail as a matter of        law.     See Points   I   through II,

supra, see also Citv of Los Angeles v. Heller. 475 U.S. 796,799 (1986) (if plaintiff cannot show

that his constitutional rights were violated by a City actor, then there cannot be Monell liability);

Easton   v. City of New York, 05 CV 1873 (FB)(JMA) U.S. Dist. LEXIS 53519 at *14-15
(E.D.N.Y June 23,2009) ("Where a municipal liability claim is based solely on the actions of                 a


municipality's officers, as   it is here, the claim must fail if   the individual defendants have not

violated the plaintiff s constitutional rights").

                 Moreover, the Amended Complaint is bereft of any factual content sufficient to

state a claim   for relief. "Threadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice." Iqbal, 556 U.S. at 678 (citations omitted.)




                                                    9
             Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 13 of 23



                   V/hile the Amended Complaint appears to allege that a custom or policy existed

based on a failure to train or supervise City personnel regarding the licketing of pedicabs, the

Amended Complaint is devoid of any specifics as to such custom or policy. Mere conclusory

asseftions of the existence of a custom or policy are insufficient to make out a claim under

Monell. Tieman v. Cit), of Newburgh,2075 U.S. Dist. LEXIS 38703 (S.D.N.Y 2015); Triano v

Town of Harison, 895 F. Supp. 2d 526,535; Gonzalez v. City of New York,2015 U.S. Dist.

LEXIS 15180; Simms v. The City of New York, 480 Fed. Appx. 621 (2d Cir.2012); Scalpi v.

Town of East Fishkill,2016 U.S. Dist. LEXIS 24697 (S.D.N.Y. 2016). Post Iqbal, boilerplate

allegations that a municipality failed to properly train or supervise employees is insufficient to

set forth a plausible claim against the City pursuant to 42 U.S.C. $     1983. See Simms v. Cit)¡ of

New York,201l U.S. Dist. LEXIS 115949 (E.D.N.Y. 2011) affd 480 F. App"x 627 (2d Cir.

2012).

                   Furthermore, even a single incident of alleged misconduct is typically insufficient

to establish municipal liability. See Dyno v. Village of Johnson Cil¡, 240 Fed. Appx. 432, 434,

2007 U.S. App. LEXIS 12283 (2d Cir. 2007) (citing Dwares v. City of New York, 985 F.2d 94,

100 (2d      Cir. 1993)). The Amended Complaint contains a single factual allegation at paragraphs

45 through 47 that Defendant Gershkovich, a DCA Inspector, stopped Plaintiff Camera without

reasonable suspicion.      It is not alleged that defendant Gershkovich or his unnamed     supervisor

were policy makers. "Monell liability does not derive from individual incidents of wrongdoing

by non-policymakers." Treadwell v. County of Putnam, 2016 U.S. Dist. LEXIS 44335 af                11


(S.D.N.Y. 2016). Accordingly, Plaintifß have failed to sufficiently plead a claim for municipal

liability.




                                                   10
          Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 14 of 23



                 Finally, to the extent that Plaintiffs allege acts by City Defendants that were not

part of an official policy, their $ 1983 claim against the City must       fail. In order to prevail on
their $ 1983 claims, the Plaintiffs must show that they were denied a constitutional or federal

statutory right and that the deprivation occurred under color of state    law.     See 42 U.S.C.   $ 1983;

West v. Atkins,487      U.5.42,48 (1988). As explained in Monell v.                Deparlment     of Social
           of the Ci   of New Yor       436 U.S. 658,694 (1978), a plaintiff seeking to pursue a          $


1983 claim against the City of New York must prove a municipal policy, custom, or practice to

which a violation of his or her rights is attributable. See also                     of New Y         2009

U.S. App. LEXIS 23076, *18 (2d Cir.2009); Vann v. City of New York,72F.3d 1040,1049 (2d

Cir. 1995); Ricciuti v. New York City Transit Auth ., g4l F.2d,    ll9,   122   (2d Cir. lggl).

                 It is well-understood that a municipality cannot be held liable in a $ 1983 action

for the alleged unconstitutional acts or misfeasance of its employees under a theory of respondeat

superior. See Monell at 691; Roe v. City of Waterbury , 542 F .3d 31,36 (2d Cir.2008). Instead,

a causal   link between the alleged violation and the municipal policy, custom, or practice must        be

established. Vippolis v. Villaee of Haverstraw,768F.2d 40 , 44 (2d Cir. 1985), cerl. denied, 480

U.S.916(1987)(citingOklahomaCityv.Tuttle,47lU.S.808,824n.8(1985)). Aplaintiffmust

show that the City, through its deliberate conduct, was the "moving force" behind the alleged

injury.   Roe v. City of Waterbury   , 542 F .3d 31,37 (2d Cir. 2008) (quoting          f
v. Brown, 520 U.S. 397, 404 (1997)).




                                                   11
        Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 15 of 23




                                              POINT

                       THE AMENDED COMPLAINT FAILS TO
                       STATE A CLAIM AGAINST DB BLASIO,
                       MENIN, SILVER AND BRATTON IN THEIR
                       OFFICIAL CAPACITIES

               An action against the Defendants de Blasio, Menin, Silver and Bratton, in their

official capacities must be treated as an action against the City. Coon v. Town of Springfield,

404 F.3d 683 (2d Cir.2005)(citing Brandon v. Holt,469 U.S. 464,471-73.) Accordingly, as the

First Amended Complaint fails to state a claim against the City, for the reasons set forth above,

the First Amended Complaint consequently fails to state a claim as to the Mayor and agency

commissioners in their official capacities.

                                              POINT V

                       PLAINTIFFS' 42 U.S.C. $ 1983 CLAIMS
                       AGAINST ALL OF THE DEFENDANTS
                       NAMED IN    THEIR INDIVIDUAL
                       CAPACITIES MUST BE DISMISSED
                       BECAUSE THEY FAIL TO SUFFICIENTLY
                       ALLEGE                 THEIR             PERSONAL
                       INVOLVEMENT

               The Complaint fails to state a claim against all of the Defendants named in their

individual capacities in that it fails to sufficiently allege their personal involvement. "It is well

settled that, in order to establish a defendant's individual liability in a suit brought under $ 1983,

a plaintiff must show, inter alia, the defendant's          personal involvement     in the alleged
constitutional deprivation." Grullon v. City of New Haven,120 F.3d 133 (2d Cir.2013); Shomo

v. Cit)¡ of New York,2009 U.S. App. LEXIS 23076, *17 (2d Cir. 2009); Colon v. Coughlin,            58

F.3d 865, 873 (2d Cir. 1995).




                                                  12
        Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 16 of 23




A.     Plaintiffs fail to state a claim against de Blasio, Menin, Silver and Bratton

               At no point in the Amended         Complaint do the Plaintiffs allege facts that

Defendants de Blasio, Bratton, Silver or Menin were personally involved in any aspect of the

pedicab ticketing procedures that are at issue in this case. It appears, however, that Plaintiffs are

claiming that Defendants de Blasio, Menin, Silver and Bratton are liable in their individual

capacities under the theory of supervisory liability. As set forth below, the Defendants de Blasio,

Menin, Silver and Bratton were not personally involved            in any purported     constitutional

violations, and because, as set forth in Point III supra, Plaintiffs have failed to state a claim for

municipal liability, there can be no claim for supervisory liability as against it. Accordingly,

Plaintiffs' claims against Defendants de Blasio, Menin, Silver and Bratton must be dismissed.

               To state a claim under 42 U.S.C. $ 1983, Plaintiffs must show (1) that the conduct

in question deprived them of a right, privilege, or immunity secured by the Constitution or the

laws of the United States, and (2) that the acts were attributable in part to a person acting under

color of state law. See Dwares,_985 F.2d at 98. "It is well settled in this Circuit that personal

involvement of defendants in alleged constitutional deprivations is a prerequisite to an award of

damages under    $ 1983." rury]]-y-þe,449 F3d 470,484 (2d Cir.2006). "[W]here                    the

complaint names a defendant in the caption but contains no allegations indicating how the

defendant violated the law or injured the plaintiff, a motion to dismiss the complaint in regard to

that defendant should be granted   "   Dove v. Fordham Univ     56 F. Supp. 2d 330,335 (S.D.N.Y

1999) (quotations and citations omitted).

               Moreover, allegations against high-ranking officials, such as the Mayor and

agency commissioners, are routinely dismissed where           a plaintiff fails to allege personal
involvement on behalf of that official. Jackson v. County of Nassau, 07 CV 0245 (JFB) (AKT),

                                                 13
         Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 17 of 23



2009 U.S. Dist. LEXIS I 1547, *7-10 (E.D.N.Y. Feb. 1 3,2009) (denying leave to amend to name

Nassau County Police Commissioner as a defendant where complaint was "devoid of specific

factual allegations" against him); Banington v. Johnson, 06 Civ. 2234 (SAS),2006 U.S. Dist.

LEXIS 86354, *5-6 (S.D.N.Y. Nov. 27,2006) (dismissing claims against Commissioner Kelly

where complaint failed to allege that he was personally involved in the constitutional violation

holding that "[t]he mere fact that one defendant is . . . the Police Commissioner is insufficient to

support a finding of personal involvement."); Washington Square Post No. 1212 v. City of New

York,720F. Supp. 337,345-47 (S.D.N.Y. 1989), rev'd on other grounds,907 F.2d 1288 (2d Cir.

19eo).

               Here, Plaintiffs base their claims against the Defendants de Blasio, Menin, Silver

and Bratton solely on their positions    of authority and make no specific factual        allegations

whatsoever as to any involvement in the underlying incidents. Their positions of authority are

insufficient to sustain liability under 42 U.S.C. $ 1983    Black v. Couehlin, 76 F.3d 72 (2d Cir

N.Y. 1996) ("[A]    defendant   in a $   1983 action may not be held liable        for   damages for

constitutional violations merely because he held        a high position of authority.")     (citations

omitted).

               Moreover, as set forth in Points I through IV, supra, Plaintiffs have failed to state

a claim for any conslitutional violation or municipal   liability, and accordingly, in the absence of

any of the same, they cannot sustain a claim for supervisory liability as against Defendants de

Blasio, Menin, Silver and Bratton. See, e.g., Williams v. City of New York,14 Civ.5123

(NRB),2015 U.S. Dist. LEXIS 94895, *18-19 (S.D.N.Y. July 21,2015) (dismissing plaintiffs

claims for supervisory liability holding "[a]s discussed above, plaintiff has failed to plausibly

allege the existence   of an unconstitutional NYPD policy or custom. A fortiori, plaintiff        has




                                                 14
       Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 18 of 23



failed to plead that Kelly created or continued any such policy. Along the same lines, plaintiff

has failed to plead any manner      in which Kelly failed to train NYPD officers."); Blyden      v.

Mancusi   186 F.3d 252,265 (2d. Cir. 1999) ("Of course, for a supervisor to be liable under

Section 1983, there must have been an underlying constitutional deprivation."). Accordingly,

Defendants respectfully contend that Plaintiffs' claims against Defendants de Blasio, Menin,

Silver and Bratton fail as a matter of law, and must be dismissed.

B.     Plaintiffs fail to state a claim against Inspector Gershkovich

               As to Defendant Gershkovich, the Amended Complaint contains only               non-

sensical allegations concerning him at paragraph 36 and bare assertions lacking any factual

specificity at paragraphs 45 through 47, which, as such, are insufficient to state a claim under

Fed. R. Civ. P. Rule   8. Iqbal, 556 U.S. 662.

                                             POINT VI

                        DEFENDANT GERSHKOVICH IS ENTITLED
                        TO QUALIFIED IMMUNITY

               Even assuming the Amended Complaint does assert sufficient facts to support a

claim against him, Inspector Gershkovich is protected by the doctrine of qualified immunity.

Bradway v. Gonzales, 26 F.3d 313 (2d Cir. 1994). The doctrine of qualif,red immunity protects

government officials "from liability for civil damages insofar as their conduct does not violate

clearly established statutory or constitutional rights of which a reasonable person would have

known." Pearson v. Callahan, 129 S. Ct. 808,815 (2009). The defense of qualified immunity

should be resolved at the earliest possible stage of the litigation. Saucier v. Katz, 533 U.S. 194,

201 (2001); see also Anderson v. Creighton, 483 U.S. 635,646 n.6 (1987) (concluding that

"qualified immunity questions should be resolved at the earliest possible stages of litigation,"

either in a motion to dismiss or in a motion for summary judgrnent); Malley v. Briggs, 475 U.S.



                                                 l5
         Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 19 of 23



335,341 (1986) (qualified immunity should be summarily judged if the ofhcer was not on notice

that his conduct would be clearly unlawful). City Defendants are entitled to qualified immunity

if   either (a) their actions did not violate clearly established law, or (b)        it was objectively
reasonable for them to believe that their actions did not violate clearly established     law. Batson-

Kirk v. City of New York, 07 CV         1950   (KAM) (JMA), 2009 U.S. Dist. LEXIS 44841, *21

(E.D.N.Y. May 28, 2009).

                 For the purposes of the defense of qualified immunity, the Court need only

consider those facts that were actually available to Inspector Gershkovich or could reasonably

have been perceived by him, at the moment he engaged in the challenged conduct. Lowth v

Town of Cheektowaga, 82 F.3d 563, 567 (2d Cir. 1996). Inspector Gershkovich's stop of

Plaintiff Camer?s pedicab pursuant to a direction to "stop all pedicabs" in accordance with           a


compliance inspection was not only entirely lawful but also objectively reasonable, thus entitling

Inspector Gershkovich to qualified immunity.

                 As Inspector Gershkovich testified at the administrative hearing, on       September

14,2013 he was conducting compliance inspections of pedicabs in Central Park together with

other DCA inspectors, Parks Department personnel and NYPD officers. He was directed to

conduct the compliance inspections on that day by his supervisors at         DCA. Exhibit "4"    at pp.

38,   69.   They were conducting the compliance inspections of pedicabs because pedicabs are

licensed by DCA and they conduct compliance inspections of all businesses who are licensed by

DCA. Exhibit "A"      at p.   46. Inspector Gershkovich had conducted    such inspections in Central

Park at least one other time, as well as outside of Central Park on other occasions. Exhibit       "A"

at p. 46-47. He had attended training sessions on how to inspect pedicabs and conducted the

inspections using a checklist that was provided to him. Exhibit   "A"   aT   p. 59-61.



                                                  16
        Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 20 of 23



                In stopping Plaintiff Bourama on September 14, 2013, not only did           Inspector

Gershkovich not violate any clearly established laws, but even        if he did, it was objectively
reasonable   for him to believe that his actions did not violate any established laws given his

history of conducting such inspections and the direction and training he had been given by DCA

to do so. Accordingly, as his actions were within the reasonable scope of his duties as a DCA

Inspector, inspector Gershkovich is protected by qualified immunity          Knoeffler v. Town of

Mamakating, 87 F. S.rpp. 2d 322 (S.D.N.Y. 2000)

                                          POINT     VII
                       THE AMENDED COMPLAINT FAILS TO
                       STATE A CLAIM AGAINST DCA, THB
                       PARKS DEPARTMENT AND NYPD

               New York City Charter $ 396 sets forth very clearly that "[a]ll actions and

proceedings for the recovery of penalties for the violation    of any law shall be brought in     the

name of the city of New York, and not in that of any agency, except where otherwise provided

by law." In addition, with regard to actions commenced pursuant to $ 1983, the Second Circuit

Court of Appeals has explicitly noted that   "[i]t is well   settled in this court that as a general

matter, agencies of New York City are not suable entities in $ 1983 actions." Nnebe v. Daus,

644 F.3d 147, 158 n. 7 (2d Cir. 2011) (citing Jenkins v. City of New York, 478    F   .3d 76,93 n. 19

(2d Cir. 2007)). Accordingly, the naming of DCA, NYPD and the Parks Department                     as


defendants is improper.

                                         POINT      VIII
                       THE COMPLAINT IS, IN PART, TIME-
                       BARRED

               The applicable statute of limitations for actions brought in New York pursuant to

$ 1983 is three years. Sherard v. City of New York,2016 U.S. Dist. LEXIS 51044 (S.D.N.Y.


                                               17
          Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 21 of 23



2016). Accordingly, Plaintiff is          time-barred from challenging any alleged constitutional

violations arising from the stopping of pedicabs prior to March 15,2013.

                                                POINT IX

                            THE COURT SHOULD DECLINE TO
                            EXERCISE JURISDICTION OVER
                            PLAINTIFFS' STATE LAW CLAIMS

                 -þ'or   the reasons set forth above, Defendants respectfully request that in the event

each of   Plaintifß' Federal claims are dismissed, any purported corresponding      State law claims be

dismissed as well. Moreover, to the extent any of Plaintiffs' purported State law claims survive

dismissal, City Defendants respectfully request that the Court decline to exercise supplemental

jurisdiction over them.

                                                 POINT X

                            PLAINTIFFS' CHALLENGE TO                        THE
                            "REGULATION OF PEDICABS'' MUST BE
                            DISMISSED

                Plaintiffs allege that the regulation of pedicabs violates New York State Law.

Plaintifß, however, fail to specify which regulations of pedicabs they are challenging and which

New York State law they allegedly violate. Accordingly, Plaintiffs' claim that the regulation of

pedicabs violates New York State law is insuffrcient to state a claim under Fed. R. Civ. P. Rule 8

and must be dismissed. Iqbal, 556 U.S. 662.

                Additionally, assuming arguendo, that Plaintiffs' challenge of the "regulations"

was sufficiently pleaded, to the extent that they are challenging the regulation of pedicabs set

forth in the Rules of the City of New York, added in2007, the claim is time-barred.

                It is well-settled that challenges to quasi-legislative   acts such as the promulgation

of rules by an administrative agency - whether statutory or constitutional - should be brought

pursuant to CPLR Article 78. See NY Cit)¡ Health          & Hospitals Corp. v. McBarnette, 84 N.Y.2d

                                                     18
         Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 22 of 23



194 (199a) ftolding that regulations promulgated by State administrative agency is a quasi-

legislative act and should be reviewed in a CPLR Article 78 proceeding); Stony Point v. State of

NY l)en't of       Finance,   107 A.D.3d 1217 (3d Dep't 2013) (holding that "fp]etitioners'

constitutional and statutory challenges to the validity of 9 NYCRR former 186-5.5 are attacks

upon 'a quasi-legislative act or decision made by an administrative agency' that are properly

advanced    in a CPLR article 78 proceeding"); Via Health     Home          v. NY State Deo't of

Health. 33 A.D.3d 1100 (3d Dep't 2006) (holding that a challenge to the validity of the State's

regulations governing the Medical recoupment process should have been advanced in a CPLR

Article 78 proceeding, which has a four-month limitations period). Such challenges are subject

to a four-month statute of limitations. New York Civil Practic Law and Rules ("CPLR") $ 217;

Fed'n of Mental Health Ctrs. V. DeBuono,275 A.D.2d 557 (3'd Dep't 2000). Therefore, since

the regulations in question were added in2007, Plaintiffs are time-bamed.

                 Additionally, to the extent Plaintiffs are alleging that the manner in which the

regulations were enforced against them was arbitrary and capricious, their remedy is an Article

78 proceeding in which they are again bound by a four-month statute of limitations. CPLR

$$217,7801 et gqq. As the only violations issued to Plaintifß that are referred to in the

Amended Complaint were issued in 2013, Plaintiffs are now time-barred from challenging them.

See   Exhibit "8" at T1145, 59 and 63.




                                                19
         Case 1:16-cv-01925-KBF Document 17 Filed 10/12/16 Page 23 of 23



                                         CONCLUSION

               For the foregoing reasons, City Defendants respectfully request that the Court

grant their motion to dismiss and dismiss the action   it its entirety, with prejudice, together with

such other and further relief as the Court deems just and proper.

Dated:         New York, New York
               October 12,2016



                                             ZACHARY W. CARTER
                                             Corporation Counsel of the
                                                City of New York
                                             Attorney for City Defendants
                                             100 Church Street, Room 5-164
                                             New York, New York 10007
                                             (212) 3s6-2214


                                             B
                                                  KERRI A. DEVINE
                                                  Assistant Corporation Counsel




                                                 20
